Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 1 of 30 PageID #:2176




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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 2 of 30 PageID #:2177
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 3 of 30 PageID #:2178
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 4 of 30 PageID #:2179
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 5 of 30 PageID #:2180
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 6 of 30 PageID #:2181
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 7 of 30 PageID #:2182
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 8 of 30 PageID #:2183
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 9 of 30 PageID #:2184
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 10 of 30 PageID #:2185
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 11 of 30 PageID #:2186
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 12 of 30 PageID #:2187
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 13 of 30 PageID #:2188
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 14 of 30 PageID #:2189
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 15 of 30 PageID #:2190
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 16 of 30 PageID #:2191
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 17 of 30 PageID #:2192
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 18 of 30 PageID #:2193
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 19 of 30 PageID #:2194
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 20 of 30 PageID #:2195
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 21 of 30 PageID #:2196
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 22 of 30 PageID #:2197
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 23 of 30 PageID #:2198
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 24 of 30 PageID #:2199
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 25 of 30 PageID #:2200
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 26 of 30 PageID #:2201
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 27 of 30 PageID #:2202
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 28 of 30 PageID #:2203
                                   REDACTED
Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 29 of 30 PageID #:2204
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Case: 1:10-cv-04257 Document #: 254-1 Filed: 07/12/19 Page 30 of 30 PageID #:2205
